Case 2:12-md-02323-AB Document 11218-6 Filed 10/27/20 Page 1 of 5




   “Exhibit E”
          (ID:950005876): Notice of Denial of Monetary
               Case 2:12-md-02323-AB           DocumentAward Claim. Date
                                                           11218-6       of Notice:
                                                                       Filed        December
                                                                              10/27/20       30, 2019.
                                                                                          Page   2 of 5

The Claims Administrators Denial concludes that:

            “Dr. Suite’s (MAF Physician) diagnosis is not generally consistent with the
                   Settlement criteria for Level 2 Neurocognitive Impairment”

        The applicable “generally consistent” standard is provided by Section (2)(b) of the “Injury Definitions”
(Exhibit 1 to Settlement Agreement). Section 2(b) of the Injury Definitions provides as follows:
For living Retired NFL Football Players diagnosed outside of the BAP, a diagnosis while living of Level 2
Neurocognitive Impairment, i.e., moderate dementia, based on evaluation and evidence generally consistent
with the diagnostic criteria set forth in subsection 2(a)(i)-(iv). Unless the diagnosing physician can certify in the
Diagnosing Physician Certification that certain testing in 2(a)(i)-(iv) is medically unnecessary because the Retired
NFL Football Player’s dementia is so severe, made by a Qualified MAF Physician.

          Side by side comparison of the applicable diagnostic criteria and the MAF Physician’s Dr.
                Nicholas D.A. Suite M.D. application under the Generally Consistent principle

                                       Level 2 Neurocognitive Impairment

  BAP= Criteria set forth in subsections 2(a)(i)-(iv)      MAF Physician application of subsections 2(a)(i)-(iv)

  (i) Concern of the Retired NFL Football Player, a        (i)             expressed his severe decline and
  knowledgeable informant that there has been a            concerns of the issues with his brain. Symptoms of…..
  severe decline in cognitive function.                    MAF also relies on prior medical records in which
                                                                    expressed similar concerns and symptoms
                                                           dating back to 2010 to Neurologist Dr. Nuddleman.
                                                           MAF physician relies on third party statement and the
                                                           showing of severe decline in cognitive function as
                                                           described by a lay person. MAF physician relies on the
                                                           concerns of the most knowledgeable informant Rhonda
                                                           Sellers who is the player’s domestic partner and has
                                                           lived with him for approximately 15 years.

  (ii) Evidence of a severe cognitive decline from a       (ii) To comply with this section, MAF Physician applies
  previous level of performance, as determined by          section 2(b) which states in part that a diagnosing
  and in accordance with the standardized                  physician can certify in the Diagnosing Physician
  neuropsychological testing protocol annexed in           Certification Form that certain testing in 2(a)(i)-(iv),
  Exhibit 2 of the Settlement Agreement.                   specifically here subsection (ii) is medically unnecessary
                                                           because the Retired NFL Football Player’s dementia is
                                                           so severe. Here, MAF Physician certified in his
                                                           Physician Certification Form pg. 4 that he determined
                                                           under penalty of perjury and subject to disciplinary
                                                           actions, that certain testing was medically unnecessary
                                                           because the player’s dementia is so severe.
                                                           Specifically, here neuropsychological testing.
           Case 2:12-md-02323-AB Document 11218-6 Filed 10/27/20 Page 3 of 5




(iii) The Player exhibits functional impairment      (iii) Here, the MAF physician in addition to his personal
generally consistent with CDR scale 2.0 (Moderate)   examination and confidential discussion and evaluation
in the areas of Community Affairs, Home &            of the players cognitive decline in the outlined areas,
Hobbies, and Personal Care.                          he relies on the third-party statement, diagnosis of
                                                     Neurologist Dr. Nuddleman in 2010, the players history
                                                     and information provided by the reliable informant.
                                                     Specifically, the MAF physician acknowledge the
                                                     sufficiency of the records and affirms that
                                                     exhibits functional impairment under CDR scale 2.0 as
                                                     follows:
                                                     Community affairs:
                                                     Loss of interest in activities outside the home/Has
                                                     stopped visiting with friends, Has stopped attending
                                                     social functions, and Loss of the ability to drive.
                                                     Home & Hobbies:
                                                     Loss of interest in hobbies.
                                                     Personal care:
                                                     Decline in appearance/Lapses in grooming

                                                     Additionally, the in-person discussion with the reliable
                                                     informant, Rhonda Sellers and reference to the Clinical
                                                     Dementia Rating Worksheet completed by her and
                                                     accepted by MAF Physician provide an insight to the
                                                     players functional impairment in the applicable areas.



                                                     Subsection (iii) continued: The MAF Physician
Subsection (iii) continued: Such functional          determined the sufficiency of the medical records he
impairment shall be corroborated by documentary      relied upon. Specifically, Neurologist Dr. Kenneth L.
evidence (e.g., medical records, employment          Nudleman, M.D produced the report titled, Qualified
records), the sufficiency of which will be           Medical Examination- Neurology dated October 28,
determined by the physician making the Qualifying    2010. Dr. Nudleman’s diagnosis of Claimant did
Diagnosis.                                           confirm his complaints as indicative and a clear
                                                     showing of brain trauma from playing professional
                                                     football. Dr. Nudleman states in part “Based on his
                                                     symptoms and complaints, and combined with his
                                                     physical examination, it is felt that he has the following
                                                     diagnoses:
Roell Preston (ID:950005876): Notice of Denial of Monetary
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                                                               11218-6       of Notice:
                                                                           Filed        December
                                                                                  10/27/20       30, 2019.
                                                                                              Page   4 of 5

                                                               Posttraumatic head syndrome characterized by a
                                                               reduce attention, concentration and recall;
                                                               posttraumatic headaches” (Doc. 175143 Pg.4)
                                                               “As to the need for future medical care, the patient
                                                               should be monitored relative to his memory and short-
                                                               term concentration problems.” (Id.)

                                                                “With respect to his post traumatic head syndrome…,
                                                               he would be considered at CDR at 0.5% benign
                                                               forgetfulness “… this would lead to a total neurological
                                                               impairment of 14% based upon the best medical
                                                               evidence.”

                                                                           lost the ability to work approximately ten
                                                               years ago. MAF Physician states “                  me
                                                               the same thing today that he was originally trained to
                                                               be able to do welding but cannot do so.” (Doc ID.
                                                               171337)

                                                               The Claims Administrator by way of audit requested
                                                                         working history for the last five years. The
                                                               employment history form was submitted by
                                                                       with no work history for the past years due to
                                                               the fact his brain disease has impaired his ability to
                                                               work.



                                                               Subsection (iii) continued: This subsection does not
    Subsection (iii) continued: In the event that no           apply to              . Documentary evidence was
    documentary evidence of functional impairment              available and relied upon by the MAF Physician.
    exist or is available, then (a) evidence of severe         Therefore, evidence under (a) neurophysiological
    cognitive decline in accordance with the                   testing is not mandatory under this subsection.
    neurophysiological testing protocol…;
                                                               (b) Does not apply to             . Documentary
    and (b) the Player’s functional impairment as              evidence was available and relied upon by the MAF
    described above, must be corroborated by a third           Physician. Based on a good faith belief that if
    party sworn affidavit from a person familiar with                  was able to obtain a third party sworn
    the Player…                                                statement that complied with the Settlement, the same
                                                               should be submitted although not mandatory for him.
                                                               Unfortunately, in the matter at hand the third party
                                                               sworn affidavit has become a focal point of the Claims
                                                               Administrators first, second and third Denial.
               Case 2:12-md-02323-AB Document 11218-6 Filed 10/27/20 Page 5 of 5
  (iv) The cognitive deficits do not occur exclusively in (iv) MAF Physician confirms in his diagnosis report that
  the context of a delirium, acute substance abuse, or                  CDR of 2.0 do not occur exclusively in the
  as a result of medication side effects.                 context of a delirium, acute substance abuse, or as a
                                                          result of medication side effects.




  Section 2(b): For living Retired NFL Football Players   Section 2(b):             was diagnosed outside of the
  diagnosed outside of the BAP, a diagnosis while         BAP. As the chart above shows, the MAF Physician
  living of Level 2 Neurocognitive Impairment, i.e.,      complied with the generally consistent standard set
  moderate dementia, based on evaluation and              forth in the above referenced sections 2(a)(i)-(iv).
  evidence generally consistent with the diagnostic
  criteria set forth in subsection 2(a)(i)-(iv).          Although the Court has affirmed that the generally
                                                          consistent principal does not mean that it must be
                                                          identical to the diagnostic criteria set forth in sections
                                                          2(a)(i)-(iv). This chart shows that the MAF Physician
                                                          applied all the pertinent and applicable subsection of
                                                          2(a)(i)-(iv).



  Section 2(b) continued: Unless the diagnosing           Section 2(b) continued: MAF Physician did certify in his
  physician can certify in the Diagnosing Physician       Diagnosing Physician Certification that “The Player’s
  Certification that certain testing in 2(a)(i)-(iv) is   dementia is so severe that the testing is medically
  medically unnecessary because the Retired NFL           unnecessary”. (Doc. 171336)
  Football Player’s dementia is so severe.




        Section 6.4(b) of the Settlement Agreement: requires, “For the avoidance of any doubt, the review of
whether a Qualifying Diagnosis is based on principles generally consistent with the diagnostic criteria set forth
in Exhibit 1(Injury Definitions) does not require identical diagnostic criteria, including without limitation, the
same testing protocols or documentation requirements”. It is a fundamental principle that MAF Physicians
have broad discretion in the manner they determine the Qualifying Diagnosis. The rule promotes the honor of
the Settlement Agreement in that MAF Physicians bear the duty to provide acceptable standards of medical
care and ethical obligations to each patient.

         According to FAQ 101, “Something is “generally consistent with” something else if the two things have
more elements or characteristics in common with each other than they have elements or characteristics that
differ from each other. The common elements or characteristics must predominate over the uncommon ones”.

      The above chart is presented as demonstrative evidence that the MAF Physician’s diagnosis does in fact
conform and satisfy the requirement of the generally consistent criteria as defined under Level 2
Neurocognitive Impairment outlined above and as agreed by the parties in the Settlement.
